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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                      §    Chapter 11 Case
                                                            §
Old LC, Inc., et al.1
                                                            §    Case No. 19-11791 (BLS)
                                                            §
                  Debtors.                                  §    Jointly Administered

                                                            §
Official Committee of Unsecured Creditors                   §
of Old LC, Inc., et al., for and on behalf of               §
the estates of Old LC, Inc., et al.;                        §
                                                            §
                                     Plaintiff,             §
                                                            §
v.                                                          §    Adv. No. 20-51002 (BLS)
                                                            §
Upfront V, LP, Breakwater Credit                            §
Opportunities Fund, L.P.; Upfront GP V,                     §
LLC; Mark Suster; Dana Kibler; Gregory                      §
Bettinelli; Saif Mansour; Aamir Amdani;                     §
Eric Beckman; Darrick Geant; and Joseph                     §
Kaczorowski                                                 §
                                                            §
                                     Defendants.            §

                                            NOTICE OF SERVICE
         PLEASE TAKE NOTICE that on the 23rd day of April, 2021, the Official Committee of

Unsecured Creditors of Old Lc, Inc. et al., for and on behalf of the estates of Old LC, Inc., et al.,

served a true and correct copy of Plaintiff’s First Requests for Production to All Defendants on the

individuals listed below via electronic mail.




1
  The Debtors are the following four entities (the last four digits of their respective taxpayer identification numbers,
if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc., and Old LC Parent, Inc.
The Debtors’ noticing address in these Chapter 11 cases is c/o Bryan Cave Leighton Paisner LLP, Attn: Mark I.
Duedall, 1201 W. Peachtree Street, 14th Floor, Atlanta, Georgia 30309.
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                                                 Geant, and Joseph Kaczorowski
 Counsel to the Upfront Defendants

 Dated: April 23, 2021                  Respectfully submitted,

                                        MORRIS JAMES LLP

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